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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

EDWARD K. KIM,
                    Movant,
                                              1:16-cv-01173-WSD
       v.
                                              1:12-cr-00323-WSD
UNITED STATES OF AMERICA,
                    Respondent.


                                   ORDER

      This matter is before the Court on Movant Edward K. Kim’s Motion to File

Out-of-Time And/Or Late Objections to the Honorable Magistrate Judge’s Report

and Recommendation (the “Motion”) [35]. The Court GRANTS the Motion and

ORDERS that Objections to Magistrate Judge Catherine M. Salinas’ Final Report

and Recommendation [32] must be filed on or before July 13, 2016. No further

extensions will be granted.



      SO ORDERED this 30th day of June, 2016.
